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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            Case No. 12-60011-CR-ROSENBAUM/SNOW

  UNITED STATES OF AMERICA,

                          Plaintiff,

  v.

  MONICA LEWIS,

                          Defendant.
                                              /

                                                  ORDER

          This matter is before the Court on Defendant Monica Lewis’s Motion Requesting Permission

  for Defendant, Monica Lewis, to Enter the Federal Courthouse Building With a Laptop Computer

  [D.E. 462]. In her Motion, Defendant Lewis requests to bring her laptop computer into the

  courtroom for purposes of trial. According to Lewis, she requires the laptop computer because it

  contains the discovery relevant to this case, and it contains parts of Defendant Lewis’s case

  presentation. The Court finds good cause to allow Defendant to bring her laptop computer to the

  courthouse for use at trial in this case.

          Accordingly, it is hereby ORDERED and ADJUDGED that Defendant Lewis’s Motion

  [D.E. 462] is GRANTED. Lewis shall be permitted to enter the Fort Lauderdale federal courthouse

  building with her laptop computer during the entirety of the trial in the above-captioned matter,

  currently set to commence on October 23, 2012.

          DONE and ORDERED this 22nd day of October 2012.


                                                      ROBIN S. ROSENBAUM
                                                      UNITED STATES DISTRICT JUDGE
